      Case:18-01011-SDB Doc#:10 Filed:08/21/18 Entered:08/21/18 10:06:35                               Page:1 of 1


                              UNITED STATES BANKRUPTCY COURT
                                              Southern District of Georgia

In the matter of:

Robert B. Norland and Kimberly L. Norland
Chapter 7 Case No. 17−10785−SDB
       Debtor(s)

Joseph E. Mitchell, III, Chapter 7 Trustee for Robert
B. Norland & Kimberly L. Norland
       Plaintiff(s)
                                                            Adversary Proceeding
vs.                                                         No. 18−01011−SDB
Brickyard Holdings, LLC
       Defendant(s)




            NOTICE OF SHOW CAUSE HEARING IN ADVERSARY PROCEEDING


NOTICE IS HEREBY GIVEN THAT: a hearing to show cause why the above−referenced adversary proceeding should not be
dismissed for failure to prosecute will be held on:

                                                 September 20, 2018 , at 09:00 AM
                      Federal Justice Center, Plaza Bldg, 600 James Brown Blvd (9th St), Augusta, GA 30901




                                                                              Lucinda Rauback, CLERK
                                                                              United States Bankruptcy Court
                                                                              Federal Justice Center
                                                                              600 James Brown Blvd
                                                                              P.O. Box 1487
                                                                              Augusta, GA 30903
Dated August 21, 2018




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